   Case: 1:17-md-02804-DAP Doc #: 487 Filed: 05/23/18 1 of 7. PageID #: 7379




                        UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                   MDL No. 2804
OPIATE LITIGATION
                                               Case No. 1:17-md-2804
THIS DOCUMENT RELATES TO:
                                               JUDGE DAN AARON POLSTER
ALL CASES


        PLAINTIFFS’ MOTION FOR MODIFICATION OF CMO 1 REGARDING
                      RELATION BACK AND TOLLING


       Plaintiffs respectfully request that the Court enter the attached Proposed Order

Regarding Relation Back and Tolling (“Proposed Order”) to amend Case Management

Order Number 1 (docket no. 232) (“CMO 1”). In CMO 1, the Court created a “litigation

track” to conserve judicial resources, reduce duplicative service, avoid duplicative

discovery, serve the convenience of the parties and witnesses, and promote the just

and efficient conduct of this litigation.   Those same interests would be served by

permitting the Plaintiffs to review and analyze ARCOS and other data before

amendment, as this would enable complaints and the naming and identification of the

Defendants to be evidence-based and eliminate the confusion or fear of missing

statutes of limitation that have not otherwise run.

       Thus, Plaintiffs request that the Court: 1) stay the due date for Plaintiffs whose

cases are not designated in paragraphs 2 or 3 of CMO 1 to file amended pleadings to

add or delete defendants without leave of court, which is currently set for May 25, 2018;

and 2) order that for any civil action which is now part of the MDL Proceedings (as

defined in CMO 1 at ¶1.a), or which later becomes part of the MDL Proceedings, there
     Case: 1:17-md-02804-DAP Doc #: 487 Filed: 05/23/18 2 of 7. PageID #: 7380




is a rebuttable presumption the amendment of any Complaint to add any additional

Defendant(s) relates back, under Fed.R.Civ.P.15(c), to the filing date of the original

Complaint in that civil action subject to the Tolling Period as described below.

                                      DISCUSSION

I.     Access to the ARCOS Data Prior to Amendment Will Aid the Litigation

       On April 11, 2018, the Court entered an ARCOS Data Order ordering the

production of ARCOS data for the Six States designated in CMO 1 (docket no. 233).

On May 8, 2018, the Court entered a Second Order Regarding ARCOS Data (docket

no. 397) ordering production of the ARCOS data for all of the States and Territories.

The Court found that access to the ARCOS data allowed “both the litigation and the

settlement tracks of this MDL to proceed on meaningful, objective data, not conjecture

or speculation.” (id.). Among other things, such access has allowed Plaintiffs both to

identify previously-unknown entities involved in the manufacturing and distribution of

opioids and to identify improperly-named Defendants (id.). Access and analysis of the

ARCOS data is essential to the evidence-based pleading of claims in the MDL.

       CMO 1 sets out that Plaintiffs whose cases are not designated in paragraphs 2 or

3 of CMO 1 may file amended pleadings with leave of Court by May 25, 2018. (docket

no. 232). At its May 10, 2018 hearing, the Court noted that “plaintiffs are not under any

imminent deadline to amend their complaints . . .” Hearing Tr. at 11, and affirmatively

requested that Plaintiffs’ counsel in the cases not set for trial not to seek access to the

ARCOS data to add or delete defendants at this time. (see id.). Plaintiffs now request

that the Court formalize its request into a stay of filings seeking to add defendants to

existing cases.



                                             2
      Case: 1:17-md-02804-DAP Doc #: 487 Filed: 05/23/18 3 of 7. PageID #: 7381




         The production of the ARCOS data for all the States and Territories as required

under the Second Order Regarding ARCOS Data (docket no. 397), is to take place on

or before May 25, 2018. As analysis of that data takes time, Plaintiffs who amend on or

before May 25, 2018, will not benefit from the analysis and review of the data. Staying

the May 25, 2018 due date for amendment without leave of Court will reduce premature

or duplicative amendments. To clarify the CMO 1 stay, Plaintiffs request that further

motions to amend and complaint amendments, other than as to those actions named in

CMO 1, are stayed until there has been an opportunity, in due course and without

disrupting the preparation of bellwether cases for trial, for Plaintiffs to review and

analyze ARCOS data under the guidance and with the assistance of the Plaintiffs’

Executive Committee.

         Thus, Plaintiffs request that in keeping with its May 10th statements, this Court

should clarify CMO 1 to provide a stay of all filings seeking to add defendants to existing

cases.

II.      A Rebuttable Presumption for Equitable Tolling

         An additional measure which would aid the progress of the MDL would be an

Order that creates a rebuttable presumption of tolling with regard to Fed.R.Civ.P.15(c)

so Plaintiffs can take adequate time to analyze the ARCOS and other data without fear

of missing statutes of limitation that have not otherwise run.

         Plaintiffs additionally request that the Court order that for any civil action which is

now part of the MDL Proceedings (as defined in CMO 1 at ¶1.a), or which later

becomes part of the MDL Proceedings, the amendment of any Complaint to add any

additional Defendant(s) and which alleges claims arising from the facts and

circumstances related to the manufacture, marketing, distribution, and/or sale of

                                               3
    Case: 1:17-md-02804-DAP Doc #: 487 Filed: 05/23/18 4 of 7. PageID #: 7382




prescription opioids against such additional Defendant(s), there is a rebuttable

presumption that it relates back, under Fed.R.Civ.P.15(c), to the filing date of the

original Complaint in that civil action.

       Rule 15 provides that an amendment relates back when:

           (B) the amendment asserts a claim or defense that arose out of the
              conduct, transaction, or occurrence set out—or attempted to be set
              out—in the original pleading; or

          (C) the amendment changes the party or the naming of the party
              against whom a claim is asserted, if Rule 15(c)(1)(B) is satisfied
              and if, within the period provided by Rule 4(m) for serving the
              summons and complaint, the party to be brought in by amendment:
                  (i) received such notice of the action that it will not be
                      prejudiced in defending on the merits; and
                 (ii) knew or should have known that the action would have been
                      brought against it, but for a mistake concerning the proper
                      party's identity.
Fed. R. Civ. P. 15(c).

       The provisions of Rule 15 and the unique factual situation in these MDL

Proceedings merit the application of equitable tolling for these cases. “Equitable tolling

has two requirements: (1) petitioner must establish ‘that he has been pursuing his rights

diligently. And [(2)], the petitioner must show that some extraordinary circumstance

stood in his way and prevented timely filing.” North v. County of Cuyahoga, No. 1:15-

CV-1124, 2017 WL 3065502, at *9 (N.D. Ohio July 19, 2017) (internal citations omitted).


       Plaintiffs in the non-trial cases filed in the MDL have not sat on their rights but

rather are in the extraordinary circumstance of being prevented from identifying

additional defendants because they have not had sufficient time to access to the

ARCOS database. Plaintiffs are diligently pursuing their rights, but the analysis of the

ARCOS data is not instantaneous. The delay in identifying potential defendants is a



                                            4
   Case: 1:17-md-02804-DAP Doc #: 487 Filed: 05/23/18 5 of 7. PageID #: 7383




direct result of the extensive research efforts Plaintiffs are undertaking specifically to

accurately determine which defendants to make party to each of their actions.

       The potential Defendants who later receive notice of their addition to these

actions will not be prejudiced in defending on the merits because should have on

constructive, if not actual, notice of this litigation. Many such Defendants have a parent,

subsidiaries, or sister companies who have been sued in this litigation, who share

counsel, or who are registrants distributing opioids under the Controlled Substances Act

and who are therefore included in the ARCOS. Thus, the Court should presume and

order that the relation back of any such amendments is appropriate and will not

prejudice the newly added Defendant(s), unless any defendant(s) rebut(s) that

presumption. Such Defendant(s) should be on notice of the MDL Proceedings, the

opioid epidemic, and the potential claims against Defendant(s), though certain factors,

including the confidential nature of the ARCOS database, have delayed or prevented

the ability of the Plaintiffs in the MDL Proceedings to identify all Defendants to their civil

actions. While this constructive notice is sufficient, North v. Cty. of Cuyahoga, supra,

Plaintiffs will make a good faith effort to mail a copy of the requested order on all

manufacturers and distributors of opioids identified in the ARCOS data at the addresses

contained therein.

       Plaintiffs request that the Court enter the attached Proposed Order to toll, as a

rebuttable presumption, based on the considerations and needs of the MDL

Proceedings and pursuant to Rule 15, all potentially applicable statutes of limitations,

statutes of repose, time-related defenses, other periods governing the filing and pursuit

of claims, and any notices required to be given in order to preserve rights to claims,



                                              5
   Case: 1:17-md-02804-DAP Doc #: 487 Filed: 05/23/18 6 of 7. PageID #: 7384




whether statutory, contractual, or otherwise, and whether at law, in equity, or otherwise,

in any jurisdiction, which may fix or limit the period within which a claim may be brought

(collectively, “the Time-Based Defenses”) which are or may be applicable to any claim

arising from the facts and circumstances related to the manufacture, distribution, and/or

sale of prescription opioids and the duties relative to those activities which any Plaintiff

or prospective Plaintiff might assert in the current or future civil actions in the MDL

Proceedings.

       Plaintiffs propose a Tolling Period for each Defendant and potential Defendant

shall begin on the earliest of the following dates:

   (1) the date on which the Defendant or potential Defendant was first named in a civil

       action which is now, or will become, part of the MDL Proceedings;


   (2) December 5, 2017, the date on which the United States Judicial Panel on

       Multidistrict Litigation entered the initial Transfer Order in the MDL Proceedings;

       or


   (3) the date the original complaint was first filed.

The Tolling Period shall extend until 60 days after the Court lifts this Order.        The

requested relief would not affect or alter any Time-Based Defense, or similar time

limitation, that has already expired as of the beginning of the Tolling Period.

                                      CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court enter the

Proposed Order accompanying this motion in order to 1) stay the May 25, 2018 due

date for Plaintiffs to file amended pleadings without leave of Court, so that Plaintiffs may

review the ARCOS and other data; and 2) create a rebuttable presumption the

                                              6
   Case: 1:17-md-02804-DAP Doc #: 487 Filed: 05/23/18 7 of 7. PageID #: 7385




amendment of any Complaint to add any additional Defendant(s) relates back, under

Fed.R.Civ.P.15(c) and the doctrine of equitable tolling, as described above for any civil

action which is now part of the MDL Proceedings or which later becomes part of the

MDL Proceedings.


Dated: May 23, 2018                            Respectfully submitted,

                                               By: s/ Peter H. Weinberger
                                               Peter H. Weinberger (0022076)
                                               SPANGENBERG SHIBLEY & LIBER LLP
                                               1001 Lakeside Avenue East, Suite 1700
                                               Cleveland, OH 44114
                                               (216) 696-3232
                                               (216) 696-3924 (FAX)
                                               pweinberger@spanglaw.com
                                               Plaintiffs’ Co-Liaison Counsel



                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 23rd day of May 2018, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF System. Copies will be served

upon counsel of record by, and may be obtained through, the Court CM/ECF Systems.


                                                 s/Peter H. Weinberger
                                                 Peter H. Weinberger

                                                 Plaintiffs’ Co-Liaison Counsel




                                           7
